                                                                                                                                                                                         AMENDED
              Case 20-71598-wlh                         Doc 8            Filed 11/17/20 Entered 11/17/20 14:23:09                                                     Desc Main
                                                                         Document      Page 1 of 6

 Fill in this information to identify your case:

 Debtor 1
                     Nicole Renee Painter
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                                (State)
 Case number           20-71598
                     ___________________________________________                                                                                                          
                                                                                                                                                                          ✔ Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 195,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 60,115.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 255,115.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 165,807.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 287,939.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 453,746.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 7,397.41
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 7,397.41
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                                                                                                                                                      AMENDED
              Case 20-71598-wlh                  Doc 8         Filed 11/17/20 Entered 11/17/20 14:23:09                                Desc Main
                  Nicole Painter
                                                               Document      Page 2 of 6
                                                                                                                          20-71598
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                                                                                                                                                 AMENDED
               Case 20-71598-wlh                 Doc 8          Filed 11/17/20 Entered 11/17/20 14:23:09                                      Desc Main
                                                                Document      Page 3 of 6
 Fill in this information to identify your case:

                     Nicole Renee Painter
 Debtor 1          __________________________________________________________________
                     First Name               Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                      (State)
 Case number
  (If known)
                      20-71598
                     ___________________________________________                                                                                   
                                                                                                                                                   ✔ Check if this is an
                                                                                                                                                       amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                              4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                 portion you own                           exemption you claim

                                                             Copy the value from                       Check only one box
                                                             Schedule A/B                              for each exemption
                 384 Eagle Tiff Drive                                                                                                 Ga. Code Ann. § 44-13-100 (a)(1)
 Brief
 description:
                                                                     195,000.00
                                                                    $________________           
                                                                                                ✔ $ ____________
                                                                                                    34,000.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:        1.1
                 2012 Volkswagon EOS                                                                                                  Ga. Code Ann. § 44-13-100 (a)(3)
 Brief
 description:
                                                                      6,000.00
                                                                    $________________            $ ____________
                                                                                                 ✔  5,000.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:          3.2
                 Household goods - All household goods and                                                                            Ga. Code Ann. § 44-13-100 (a)(4)
 Brief
 description:
                 furniture                                          $________________
                                                                      200.00                    
                                                                                                ✔ $ ____________
                                                                                                    200.00
                                                                                                  100% of fair market value, up to
 Line from                                                                                           any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                             page 1 of __
                                                                                                                                   AMENDED
               Case 20-71598-wlh Doc 8 Filed 11/17/20 Entered 11/17/20 14:23:09 Desc Main
Debtor           Nicole Renee Painter                  Document
                _______________________________________________________
                                                                        Page 4 of Case
                                                                                   6 number (if known)_____________________________________
                                                                                                       20-71598
                 First Name       Middle Name       Last Name




 Pa rt 2 :      Addit iona l Pa ge

            description of the property and line
         Brief                                                                            Amount of the                        Specific laws that allow exemption
                                                                   Current value of the   exemption you claim
         on Schedule A/B that lists this property                  portion you own
                                                                  Copy the value from    Check only one box
                                                                   Schedule A/B           for each exemption
                Electronics - All Electronics                                                                                   Ga. Code Ann. § 44-13-100 (a)(4)
Brief
description:
                                                                     800.00
                                                                    $________________        800.00
                                                                                          ✔ $ ____________

                                                                                           100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:          7
                Clothing - All clothing and shoes                                                                               Ga. Code Ann. § 44-13-100 (a)(4)
Brief
description:                                                        $________________
                                                                     200.00               
                                                                                          ✔ $ ____________
                                                                                              200.00
                                                                                           100% of fair market value, up to
                                                                                              any applicable statutory limit
Line from
Schedule A/B:          11
                Jewelry - Jewelry                                                                                               Ga. Code Ann. § 44-13-100 (a)(5)
Brief
description:                                                        $________________
                                                                     1,100.00             
                                                                                          ✔ $ ____________
                                                                                              500.00
                                                                                           100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:           12
                Pets - 3 Dogs, 1 Cat                                                                                            Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                     50.00
                                                                    $________________        50.00
                                                                                          ✔ $ ____________

                                                                                           100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:          13
                Wells Fargo (Checking)                                                                                          Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                     6,432.00
                                                                    $________________        1,200.00
                                                                                          ✔ $ ____________

                                                                                           100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:          17.1
                Wells Fargo (Checking)                                                                                          Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                     6,432.00
                                                                    $________________        5,000.00
                                                                                          ✔ $ ____________

                                                                                           100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:            17.1
                First Citizen (Checking)                                                                                        Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:
                                                                     3,291.00
                                                                    $________________        2,000.00
                                                                                          ✔ $ ____________

                                                                                           100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:          17.2
                Wells Fargo (Savings)                                                                                           Ga. Code Ann. § 44-13-100 (a)(6)
Brief
description:                                                        $________________
                                                                     2,229.00             
                                                                                          ✔ $ ____________
                                                                                              1,000.00
                                                                                           100% of fair market value, up to
                                                                                              any applicable statutory limit
Line from
Schedule A/B:            17.3
                401k                                                                                                            Ga. Code Ann. § 44-13-100
Brief                                                                                                                           (a)(2.1)(C), 44-13-100 (a)(2)(E)
description:
                                                                     17,000.00
                                                                    $________________      $ ____________
                                                                                          ✔   17,000.00
                                                                                           100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:          21
                Charles Schwab                                                                                                  Ga. Code Ann. § 44-13-100
Brief                                                                                                                           (a)(2.1)(C), 44-13-100 (a)(2)(E)
description:
                                                                     613.00
                                                                    $________________      $ ____________
                                                                                          ✔   613.00
                                                                                           100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:            21

Brief
description:                                                        $________________      $ ____________
                                                                                           100% of fair market value, up to
                                                                                              any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                        $________________      $ ____________
                                                                                           100% of fair market value, up to
Line from                                                                                     any applicable statutory limit
Schedule A/B:


 Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                                  2
                                                                                                                                                  page ___ of __   2
                                                                                                                                                              AMENDED
                  Case 20-71598-wlh                                 Doc 8     Filed 11/17/20 Entered 11/17/20 14:23:09                         Desc Main
                                                                              Document      Page 5 of 6
Fill in this information to identify your case:

Debtor 1           Nicole Renee Painter
                  __________________________________________________________________
                    First Name                              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Georgia District of __________
                                                                                               (State)
Case number         20-71598
                    ___________________________________________
(If known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  ■

                                                                                                                                                      amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                                 12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                     Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.



                  Nicole Painter
                 Nicole Painter (Nov 17, 2020 14:16 EST)
          ______________________________________________                          _____________________________
         Signature of Debtor 1                                                        Signature of Debtor 2


              11/17/2020
         Date _________________                                                       Date _________________
                MM /      DD        /    YYYY                                                  MM / DD /   YYYY




  Official Form 106Dec                                                      Declaration About an Individual Debtor’s Schedules
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                                  Document      Page 6 of 6



                                 CERTIFICATE OF SERVICE


        I hereby certify that I am more than 18 years of age and that I have this day served a copy
of the attached and by depositing a copy of the same in U.S. Mail with sufficient postage affixed
thereon to ensure delivery or via electronic means as noted below:


  Debtor served via email.




      I further certify that the US Trustee and the Chapter 7 trustee, received notice via the
ECF electronic mail/noticing system.


Dated: November 17, 2020
                                                       /s/
                                                     Craig Black
                                                     GA Bar No.: 137410
                                                     The Craig Black Law Firm, LLC
                                                     5555 Glenridge Connector
                                                     Suite 200
                                                     Atlanta GA 30348
                                                     (678) 888-1778
                                                     Attorney for the Debtor
                                                     cb@craigblacklaw.com
